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                    IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

  NICHOLAS MANSOUR,                         )      CV 24-00518 SASP-WRP
                                            )
               Plaintiff,                   )
                                            )
        vs.                                 )
                                            )
  SIDE STREET INN,                          )
                                            )
               Defendant.                   )
                                            )

                   ORDER ADOPTING MAGISTRATE JUDGE’S
                     FINDINGS AND RECOMMENDATION

        Findings and Recommendation having been filed and served on all parties

  on January 10, 2025, and no objections having been filed by any party,

        IT IS HEREBY ORDERED AND ADJUDGED that, pursuant to Title 28,

  United States Code, Section 636(b)(1)(C) and Local Rule 74.1, the "Findings and

  Recommendation to Deny Without Prejudice (1) Application to Proceed Without

  Prepaying Fees or Costs, and (2) Request for Appointment of Counsel Under the

  Civil Rights Acts of 1964; 42 U.S.C. § 2000e-5(f)(1)(B)", ECF No. 10, are adopted

  as the opinion and order of this Court.

        Plaintiff is given 21 days from the date of this Order to file (1) a new

  Application to Proceed Without Prepayment of Fees or Costs (AO 240), and (2) a

  new Request for Appointment of Counsel Under The Civil Rights Acts of 1964;
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  42 U.S.C. § 2000e-5(f)(1)(B) that address the deficiencies identified in the

  Findings and Recommendation to Deny Without Prejudice (1) Application to

  Proceed Without Prepayment of Fees or Costs, and (2) Request for Appointment of

  Counsel Under the Civil Rights Acts of 1964; 42 U.S.C. § 2000e-5(f)(1)(B), ECF

  No. 10.

        IT IS SO ORDERED.

        DATED at Honolulu, Hawai‘i, February 5, 2025.




  MANSOUR v. SIDE STREET INN.; CIVIL NO. 24-00518 SASP-WRP; ORDER
  ADOPTING MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATION
                                            2
